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          EXHIBIT A
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   1   Jack Shaw (Bar No. 309382)
       E-mail: jack.shaw@procopio.com
   2   PROCOPIO, CORY, HARGREAVES & SAVITCH LLP
   3   1117 S. California Ave, Suite 200
       Palo Alto, CA 94304
   4   Telephone: 650-645-9019
       Facsimile: 650-687-8326
   5
       Jacob K. Poorman (Bar No. 262261)
   6   E-mail: jacob.poorman@procopio.com
       PROCOPIO, CORY, HARGREAVES & SAVITCH LLP
   7   12544 High Bluff Drive, Suite 400
       San Diego, CA 92130
   8   Telephone: 619-525-3811
   9   Facsimile: 619-788-5511
  10   ATTORNEYS FOR PLAINTIFFS
  11
  12                    UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
  13
  14
       THE NEXT VIETNAM PROJECTS               C.A. No. _________
  15   FOUNDATION, INC., RADIX
       CORPORATION A/K/A VIETNAM
  16   VETERANS FOR FACTUAL                   DECLARATION OF NAM PHAM
  17
       HISTORY, SAIGON
       BROADCASTING TELEVISION
  18   NETWORK, INC., MY VAN                   JURY TRIAL DEMANDED
       INTERNATIONAL, INC., NAM
  19   PHAM, CARINA OANH HOANG,
       DIEP PHAN, TRONG PHAN, SON
  20   NGUYEN, THANH-MAI NGUYEN,
       AND MINH NGUYEN
  21
                    Plaintiffs,
  22
  23
            v.

  24   KOSTER FILMS, LLC, FREDERICK
       KOSTER, BT PRODUCTIONS LLC,
  25   and BRIAN TOOKER
  26                Defendants.
  27
  28
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   1
                                DECLARATION OF NAM PHAM
   2
              I, Nam Pham, respectfully represents the following:
   3

   4          1.     My name is Nam Phan. I am a Massachusetts resident, who resides and
   5
       works in Massachusetts. I am the President of the Next Vietnam Project Foundation
   6
       (the “Vietnam Foundation”), the non-profit organization that owns the film entitled
   7

   8   “Through Our Eyes” (the “Film”). I am over the age of eighteen, have personal
   9
       knowledge of the facts set forth herein except where stated otherwise and, if called
  10
       as a witness in this matter, I could and would testify competently thereto. I submit
  11

  12   this declaration in support of Plaintiffs’ Complaint against Defendants Koster Films,
  13
       LLC, Frederick Koster, BT Productions LLC and Brian Tooker.
  14
              2.     As explained more fully below, this declaration sets forth, based on my
  15

  16   personal knowledge, how Mr. Koster was paid hundreds of thousands of dollars as a
  17
       director for the Film with contributions mostly from small donors, how Mr. Koster
  18

  19
       represented that the Vietnam Foundation would own the Film on behalf of the

  20   Vietnamese Community, and how the Vietnam Foundation asked Ms. M. Nguyen to
  21
       write cease and desist emails to Mr. Koster after he held the Film hostage and sought
  22

  23
       to sell it for his own benefit.1

  24
       1
         Mr. Koster sued Ms. Minh Nguyen personally for defamation based on her efforts
  25   to stop his, and the other Defendants’, wrongdoing. In that lawsuit I submitted a
       declaration stating, among other things, that the Vietnam Foundation had hired Mr.
  26   Koster to work on the Film. Of course, the Vietnam Foundation was not
       technically formed until December 2019. It would therefore be more precise to say
  27   that the producers of the Film – VVFH and SBTN – hired Mr. Koster and raised
                                                 -2-
  28
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   1
             3.     I worked as Assistant Secretary for Business Development and
   2
       International Trade for the Commonwealth of Massachusetts. Between January 8,
   3

   4   2015 and February 15, 2020, I was prohibited to be involved in any profit-making
   5
       enterprises or project by Massachusetts’ Conflict of Interests Laws. I was permitted
   6
       to be involved with charitable or educational activities.
   7

   8         4.     In October 2018, Dr. TN Nguyen of the Immigrant Resettlement &
   9
       Cultural Center (“IRCC”), a California non-profit dedicated to preserving the history
  10
       of Vietnamese refugees, recruited me to be the lead person for a documentary project
  11

  12   on the Vietnam War from the perspectives of South Vietnam. Because I had
  13
       previously known IRRC as a reputable charitable organization, and Dr. Nguyen as a
  14
       dedicated researcher on Vietnamese American issues, I agreed to help.
  15

  16         5.     For 40 years, I have studied the War and taught a college level course
  17
       titled “Vietnam War from the South Vietnamese Perspectives” at Tuft University in
  18

  19
       Medford, Massachusetts. I personally grew up with the War and witnessed the

  20   unfolding of the end of the War in 1975. I have been active in the Vietnamese
  21
       American community; thus, I have developed numerous relationships with
  22

  23
       Vietnamese civic, religious, military, and political leaders throughout the US as well

  24   as Vietnamese people in Europe and Australia
  25

  26   funds for the benefit of the Vietnam Foundation which, by agreement between the
       producers, on the one hand, and Mr. Koster, on the other hand, would be the owner
  27   of the Film and all related material, and all rights thereto.
                                                -3-
  28
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   1
             6.     In January 2018, after having had many telephone conferences with
   2
       persons who started the project, including Dr. TN Nguyen of the IRRC, Messrs.
   3

   4   James McLeroy and Steve Sherman of Vietnam Veteran for Factual History
   5
       (“VVFH”), a Texas non-profit, and Mr. Truc Ho of the Saigon Broadcasting &
   6
       Television Network (“SBTN”), a California entity (collectively, the “Producers”),
   7

   8   we hired Mr. Fred Koster to act as a director. He is known to the Vietnamese
   9
       community through his work on a movie called “Ride the Thunder” based on the
  10
       book authored by Mr. Richard Botkin with the same title.
  11

  12         7.     In January 2018, Mr. Koster agreed that he would be a part of our
  13
       documentary project as a hired director. His agreement was memorialized in an email
  14
       wherein he thanked the producers and me for considering him in this role and that he
  15

  16   was “excited to be part of this project.” Attached hereto as Exhibit 1 is a true and
  17
       correct copy of Mr. Koster’s January 15, 2018 Email.
  18

  19
             8.     The Producers and Mr. Koster agreed that the documentaries would be

  20   released free of charge to the public, including DVD copies. The explicit mission of
  21
       the whole project is not for anyone’s personal profit; it is for educational purposes.
  22

  23
             9.     As part of setting forth a proper fundraising mechanism, VVFH would

  24   act as a fiscal agent while a new non-profit entity, which would be named the Next
  25
       Vietnam Project Foundation (the “Vietnam Foundation”), would be established to
  26

  27   formally own any and all copyright interests of the documentary, interviews, and all
                                                -4-
  28
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   1
       related materials. All donations would be tax deductible, as stated publicly during all
   2
       television, radio, and newspaper interviews, and individual fundraisers.
   3

   4         10.      In December 2019, the Vietnam Foundation received official
   5
       designation as an educational non-profit organization under the IRS 501(c)(3) rule.
   6
       Attached hereto as Exhibit 2 is a true and correct copy of Vietnam Foundation’s
   7

   8   official designation.
   9
             11.      I have been the President of the Vietnam Foundation since our official
  10
       designation.
  11

  12         12.      In January 2018, Mr. Koster agreed that for $80,000 he would make two
  13
       videos, each 45-60 minutes, one from the perspective of South Vietnamese, and one
  14
       from the perspective of American Vietnam Veterans. In addition, Mr. Koster would
  15

  16   also produce teaching materials to accompany the videos. He would create and
  17
       maintain a website called “Through Our Eyes” to use exclusively for the project. The
  18

  19
       website would be uploaded with all the interviews of Vietnamese and Vietnam

  20   Veterans who will be interviewed for the documentaries.
  21
             13.      The website, which Mr. Koster was hired to create and subsequently
  22

  23
       deleted, stated that the mission of the “‘Through My Eyes –The Vietnam War’ project

  24   [is to] provide[] all produced videos, products and materials FREE of charge to
  25
       academic institutes and also to the public.” Attached hereto as Exhibit 3 is a true and
  26

  27   correct copy of the Film website, http://usavn.org/donate.html.
                                                 -5-
  28
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   1
             14.       Mr. Koster pledged to present a script of the documentaries for us, the
   2
       Producers, for approval. However, he never did so. The Producers and I subsequently
   3

   4   had to write our own script for the documentary and interviews.
   5
             15.       Among other things we, as the Producers, would use our own resources
   6
       to raise money to pay Mr. Koster as well as to connect potential interviewees and
   7

   8   provide the script, factual history for the documentaries, actual footage, and music to
   9
       make, in Mr. Koster’s words “Not just a great film, but to make a difference”.
  10
             16.       In numerous telephone conference calls and in private in person
  11

  12   conversations with certain interviewees including me, Mr. Koster pledged that he
  13
       would not put into the Film or keep in the Film anything that is not approved by the
  14
       us or the interviewees. He also vowed to keep working on the Film until our
  15

  16   satisfaction.
  17
             17.       Mr. Koster promised to finish the first documentary and teaching
  18

  19
       materials by June 2018. When that timeframe had passed, Mr. Koster then promised

  20   that the Film would be ready for the 2019 school year, but as always, he overpromises
  21
       and under delivers. Mr. Koster continuously made promises that he failed to uphold
  22

  23
       and failed to meet all deadlines.

  24         18.       Mr. Koster told the Producers that he had good relationship with some
  25
       affluent Vietnam veterans in Texas and other places that he could ask them to donate
  26

  27
                                                  -6-
  28
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   1
       money to fund the documentaries. When asked days later, he said that none of his
   2
       contacts would give any money.
   3

   4         19.    In March 2018, we set up a GoFundMe campaign to ask for donations,
   5
       and SBTN, a Vietnamese nation-wide cable TV network, began to promote the
   6
       project nationwide free-of-charge.
   7

   8         20.    On March 16, 2018, SBTN taped a 60-minute show, interviewing
   9
       Messer. Koster, McLeroy and me. On this TV show, Mr. Koster again stated as a
  10
       director for hire for this documentary, that the entire production, interviews, and all
  11

  12   related materials would belong to the Vietnamese community and it would be
  13
       distributed free-of-charge to the public and schools across the US once completed.
  14
       Much of the negotiations of Mr. Koster’s role as a hired director took place in
  15

  16   California during this time.
  17
             21.    Mr. Koster subsequently appeared two additional times in California on
  18

  19
       SBTN to tape interviews for the promotion of the Film. These dates include at least

  20   October 28, 2018 and March 16, 2019.
  21
             22.    On March 20, 2018, Mr. Koster acknowledged in an email to me and a
  22

  23
       number of producers that he does not have authority to dictate the content or script

  24   of the film. In fact, Mr. Koster stated that “The script for the South Vietnamese video
  25
       will first be written by SBTN ‘based’ on our approved outline that we currently have
  26

  27   which [Dr. TN Nguyen] will provide to SBTN. This script by SBTN will then be
                                                -7-
  28
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                                        #:35




   1
       sent to IRCC for their input and then sent to Jim and I. One thing we need to be
   2
       careful of is, that everyone needs to know that this script is a collaborative
   3

   4   effort. Sometimes when it comes to creative writing, people may be sensitive to
   5
       changes in the final version of the script.” Attached hereto as Exhibit 4 is a true and
   6
       correct copy of Mr. Koster’s March 20, 2018 Email.
   7

   8         23.    From March to October 2018, I made numerous phone calls to my
   9
       contacts to make appointments for interviews of prominent Vietnamese individuals
  10
       for our documentaries so that Mr. Koster could film them. I also traveled twice to
  11

  12   Orange County of California to connect Mr. Koster to interviewees and interpreted
  13
       for the interviewees. I prepared the questions, which were specific to each
  14
       interviewee’s background and experience. I also functioned as the questioner. Mr.
  15

  16   Koster’s role was to work with Mr. Tooker to film the interviews. I did all of this
  17
       with and solely because of the understanding that the Film would be owned by the
  18

  19
       Vietnamese community, not Mr. Koster.

  20         24.    In October 2018, I connected Mr. Koster to Ms. Vu Thanh Thuy, a
  21
       renowned Vietnamese journalist and executive owner of Saigon-Houston Radio, who
  22

  23
       has been living in Houston, with more than 200,000 Vietnamese strong community.

  24   When Mr. Koster met her, she expressed that, because of the Vietnamese
  25
       community’s strong support for a film project to tell the Republic of Vietnam’s story,
  26

  27   she could help to raise any needed fund.
                                                  -8-
  28
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  1
            25.    Mr. Koster then proposed to change the video project to a feature
  2
      documentary film for a total of $250,000, which included a 10% contingency fee,
  3

  4   and promised that it would be completed by June 2019. In this proposal, Mr. Koster
  5
      represented that he would be the hired director for this feature documentary film and
  6
      that all rights to the film, interviews, and all related materials would belong to the
  7

  8   Vietnamese Community through the non-profit, the Vietnam Foundation.
  9
            26.    On Saturday March 9, 2019, Mr. Koster and I were invited to meet with
 10
      two dozen or so of Vietnamese religious, civic, and business in Houston so that we
 11

 12   could present the proposal to produce the documentary film.
 13
            27.    At this meeting, Mr. Koster repeated his often- promises that the film
 14
      would be an educational documentary and will be distributed free of charge because
 15

 16   it belongs to the Vietnamese Community through the Vietnam Foundation.
 17
            28.    On March 22, 2019 the Vietnamese American Community in Houston
 18

 19
      organized a fundraising dinner at Kim-Son Restaurant at 10611 Bellaire Blvd,

 20   Houston, raising more than $171,596 for the project. And on March 24, 2019, the
 21
      Vietnamese American Community in Dallas-Fort Worth had a lunch meeting at the
 22

 23
      Vietnamese Nationalist Community Center at 10935 Estate Ln Suite 180, Dallas TX

 24   75238 and raised $30,830.
 25
            29.    The donated amount ranges from $5 to $10,000 and almost one thousand
 26

 27   people have donated to the making of the film.
                                               -9-
 28
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  1
            30.    Among them, there was a $1,200 from the widow of the late Captain
  2
      Ngo Chuoc. He had just died and willed his total death benefit to the Project. Because
  3

  4   of his and our community’s trust we always feel that the donated fund for the project
  5
      must be accounted for every penny, so we have asked Mr. Koster for the accounting
  6
      of how he has spent our money. But Mr. Koster refused to provide any accounting
  7

  8   for any expense or related fees.
  9
            31.    In total, we fundraised approximately $95,000 through GoFundMe from
 10
      SBTN media appearances in Garden Grove, California from March 2018 to
 11

 12   November 2020, $150,000 in Houston, Texas on March 22, 2019 at Kim Son
 13
      Restaurant, $33,210 in Dallas, Texas on March 23, 2019 at the Vietnamese
 14
      Community Center, and $10,000 through a private family foundation. The total
 15

 16   amount fundraised is $292,213. To date, the only individual paid out of the funds
 17
      raised is Mr. Koster.
 18

 19
            32.    Ms. Diep Phan, Mr. Tanh Nguyen, Ms. Thanh-Mai Nguyen, and Ms.

 20   Minh Nguyen (Ms. M. Nguyen) agreed to be a part of the Film under the condition
 21
      that any use of their appearances would be approved prior to any release of the Film
 22

 23
      and that the Film project was for exclusive educational use, with all copyright

 24   ownership of the Film to be owned by the non-profit, the Vietnam Foundation.
 25
            33.    During the summer of 2019 I continued to convince my friends and
 26

 27   relatives to be filmed by Mr. Koster in subsequent interviews I had coordinated in
                                               - 10 -
 28
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  1
      Houston, Dallas, Washington DC, and in Paris, France. I did more research on
  2
      Vietnam War and its aftermath for Mr. Koster and provided ideas and wrote content
  3

  4   for all the interviews.
  5
            34.    From March 2018 to July 2019, Mr. Koster filmed interviews of 93 or
  6
      so Vietnamese and Vietnam veteran. I personally connected Mr. Koster to about 70
  7

  8   of these individuals, who I have developed relationships with during the previous
  9
      decades.
 10
            35.    I travelled on my own time to California, Georgia, Texas, and
 11

 12   Washington DC in the US, and France to make arrangements and interviewed
 13
      individuals while Mr. Koster filmed using equipment provided by the various local
 14
      non-profits and organizations.
 15

 16         36.    I prepared all the questions for the interviewees and acted as a pro bono
 17
      interpreter and questioner during the interview, even though Mr. Koster had budgeted
 18

 19
      this portion of the expense to himself and his company. Whenever I could not be

 20   there, I recruited my friends to be interpreters for free.
 21
            37.    Mr. Koster does not speak any Vietnamese and throughout the film
 22

 23
      production process showed that he had very little knowledge of the Vietnamese

 24   culture, history, or Vietnam War.
 25
            38.    On September 8 2019, Mr. Koster emailed me and asked for “One Page
 26

 27   Summary of History of Vietnam” which would include “the universities that existed
                                                - 11 -
 28
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  1
      a thousand years ago. Architecture. Religion. When the written language was first
  2
      used. The low crime rate. Family oriented. How Vietnam was constantly invaded
  3

  4   throughout the years. Especially from China. Products manufactured like rubber,
  5
      etc.”
  6
              39.   I travelled to California on or about March 16, 2018 to have Mr. Koster
  7

  8   and I be interviewed by SBTN to promote “Through Our Eyes” Project.
  9
              40.   On March 17 and 18, 2018, I prepared the questions and acted as the
 10
      questioner of six participants, all in Vietnamese. Mr. Koster also worked with Mr.
 11

 12   Brian Tooker, who filmed the interviewees.
 13
              41.   I travelled to California two more times to help Mr. Koster with another
 14
      dozen interviews in September 2018 and May 2019.
 15

 16           42.   Mr. Koster never produced nor provided me a movie script contrary to
 17
      his often-promises. For example, on April 15, 2019, more than a year after we started
 18

 19
      the project, he wrote in an email to me that “I am still working on the script and will

 20   send it soon.”
 21
              43.   On August 29, 2019 I asked Mr. Koster again for the script because he
 22

 23
      has asked me to travel to Phoenix Arizona, for his convenience, to play a role in the

 24   Film. I only received a partial incomplete script for my role. I had to completely
 25
      rewrite my script for filming.
 26

 27
                                                - 12 -
 28
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  1
            44.    I also asked Mr. Koster to provide to the Producers a copy of all the 93
  2
      interviews. He promised he would ask the video photographer, Brian Tooker, to do
  3

  4   that as soon as he can. During the following months, this request was made again
  5
      and again, and he would say yes again but still never delivered any footage or copy
  6
      of the 93 interviews conducted.
  7

  8         45.    By August 2019, we had directly wired and paid Mr. Koster about
  9
      $220,000 and incurred other $20,000 additional costs incurred by Mr. Koster. Even
 10
      though we have repeatedly asked Mr. Koster to provide an actual expense report, he
 11

 12   has refused to provide any details.
 13
            46.    In early November 2019, Mr. Koster contacted a couple of key
 14
      Vietnamese leaders and contributors in Houston, whom I had connected him to and
 15

 16   later threatened to stop working on the film unless he received another $30,000. Mr.
 17
      Koster stated that if the Vietnamese community acquiesced to his demand for
 18

 19
      additional funds, he vowed to complete the movie “before the Holidays” of 2019. In

 20   late November 2019, Mr. Koster once again changed his deadline and stated that the
 21
      film would be completed in January 2020.
 22

 23
            47.    Around late 2019 to early 2020, I had a number of conference calls with

 24   donors (eight of them) regarding the fact that Mr. Koster had yet to finish the film.
 25
            48.    The most vocal member, Ms. Jane Nga Dung Nguyen, stated she
 26

 27   believed the main reason that Mr. Foster’s had not completed the filmwas his “being
                                               - 13 -
 28
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  1
      an artist, who is disorganized” and she volunteered to “sweet talk” to him so he could
  2
      finish the film in a couple of months.
  3

  4         49.    During Ms. Jane Nga Dung Nguyen’s discussion with Mr. Koster, he
  5
      demanded an additional $49,000, not $30,000, to be wired to him directly for
  6
      payments as the hired director for the film. We reluctantly paid him that additional
  7

  8   $49,000. To date Mr. Koster has been paid $268,515 and we have had to pay other
  9
      direct related costs of $30,000 that he incurred for a total of almost $300,000 or 20%
 10
      over his own proposed and approved budget. Attached hereto as Exhibit 5 is a true
 11

 12   and correct copy of my November 8, 2019 Email to Mr. Koster and members of the
 13
      Vietnam Foundation.
 14
            50.    Attached hereto as Exhibit 9 is a true and correct copy of Mr. Koster’s
 15

 16   budget proposal submitted to Vietnam Foundation. Mr. Koster allocated almost the
 17
      entirety of budget fundraised for the film to himself.
 18

 19
            51.    On November 17, 2019, I formally responded to Mr. Koster’s demand

 20   for all of the remaining funds raised. In the email addressed to Mr. Koster, I stated
 21
      that “[i]f you agree to this below, please acknowledge by reply to this email with
 22

 23
      your affirmation.” The statement, is as follows: “I, Fred Koster and Koster Films,

 24   LLC, have received a total of $250,000 from the Vietnamese community through Mr.
 25
      Nam Pham, who is the community representative, to produce a theatrical
 26

 27   documentary film, which has been tentatively called ‘Through Our Eyes: The
                                               - 14 -
 28
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  1
      Vietnam War.’ I hereby affirm and certify that Koster Films will deliver a completed
  2
      movie by December 15, 2019. Further I will produce to the Vietnamese community
  3

  4   an original digital copy of all interviews which were conducted from April 1, 2019
  5
      to October 31, 2019 and any other related materials.” Attached hereto as Exhibit 6
  6
      is a true and correct copy of my email November 17, 2019 email to Mr. Koster.
  7

  8         52.     On November 21, 2019, Mr. Koster responded and affirmed that “I have
  9
      only received $215,601.20. It was only about week ago when the issue was forced
 10
      that I finally even knew how much money was raised, which was reported at
 11

 12   $286,210.” “And I am trying to do this on hardly any money but even this small
 13
      amount of money I can’t get.” “[A]t this time I am only requesting the amount of
 14
      $49,398.80 [the entire remaining funds raised] to be wired to me to finish the film.”
 15

 16   Attached hereto as Exhibit 7 is a true and correct copy of Mr. Koster’s November 21,
 17
      2019 Email.
 18

 19
            53.     On November 26, 2019, in response to my email requesting Mr.

 20   Koster’s affirmation of his obligations, Mr. Koster acknowledged that he had
 21
      received the additional $49,000 and would resume work on the film. Attached hereto
 22

 23
      as Exhibit 8 is a true and correct copy of Mr. Koster’s November 26, 2019 Email.

 24         54.     During the last three years, Mr. Koster has missed all his own deadlines
 25
      of production and post-production schedules. We have also spent months to review
 26

 27   and revise his work with much frustration.
                                                - 15 -
 28
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  1
            55.     Even though in his budget, there would be money reserved and budgeted
  2
      to pay for translation from Vietnamese to English for all interview, he refused to
  3

  4   spend money to hire any translator. To keep the project moving forward, many
  5
      Vietnam Foundation Board members, such as Dr. Trong Phan and I, had to volunteer
  6
      ourselves to do the translation by watching the video tapes of the interviews, minutes
  7

  8   by minutes.
  9
            56.     In April 2020, Mr. Koster sent me and other key members of th
 10
      Vietnamese refugee community the first screener of the film. We were shocked and
 11

 12   disappointed because the movie had no story line and was just a compilation of
 13
      random interviews. Not only did the film have very little historical footage of what
 14
      happened during a time span of 40 years of the Vietnam War and its aftermath, but
 15

 16   certain footage from the World War II Holocaust concentration camps were also
 17
      presented as footage from the Vietnam war. The film had no music as promised. It
 18

 19
      was a complete and utter disappointment and failure.

 20         57.     In May 2020 we had a board meeting to discuss Mr. Koster’s screener
 21
      of the film. We wrote a detailed letter to him, outlining what was missing and what
 22

 23
      would be needed to improve the film. The members who devoted many efforts to

 24   the content of the Film were Ms. Thanh-Thuy Vu, Dr. Trong Phan, Ms. Jane Nga
 25
      Dung Nguyen, and me.
 26

 27
                                               - 16 -
 28
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  1
              58.     The Board and I had at least three video meetings with Mr. Koster in the
  2
      second half of 2020. At all meetings, we gave Mr. Koster very specific
  3

  4   recommendations and changes. We had to rework the whole story of the Film.
  5
              59.     By November 29, 2020, Mr. Koster still has not provided a completed
  6
      film.
  7

  8           60.     At our meeting on March 20, 2021, Ms. Jane Nga-Dung Nguyen
  9
      revealed that she had requested Mr. Koster “three or four times” to send her a copy
 10
      of her Mother’s interview so she could show it to her family members at Mother’s
 11

 12   memorial service. She had passed in early 2021.
 13
              61.     She said Mr. Koster refused to send the interview of her Mother for her
 14
      Mother’s memorial service.
 15

 16           62.     Throughout January of 2020 and afterward, I personally reviewed the
 17
      video interviews again to pick which interviews would be in the film, which part or
 18

 19
      parts of the interviews should be in the film, and how they should be weaved together

 20   into a story.
 21
              63.     The Vietnam Foundation and its partners such as My-Van Film and
 22

 23
      SBTN provided more history footage, personal pictures, list of Vietnamese songs and

 24   recorded music for the film as well as contact information of popular and famous
 25
      Vietnamese composers such as Messrs. Truc Ho and Le Xuan Khoa. All partners
 26

 27   who provided the historical footage, personal pictures, and music for the film did so
                                                  - 17 -
 28
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  1
      under the condition that it would be used for the documentary film for educational
  2
      use only, and the understanding that Mr. Koster was a hired director, without any
  3

  4   copyright ownership of the film.
  5
            64.    We have done this on our own time and money because we all believed
  6
      in Mr. Koster’s promise that the film would belong to the Vietnamese community
  7

  8   and further its educational goals.
  9
            65.    Despite our many meetings, relentless emails and discussions, Mr.
 10
      Koster still included historical inaccuracies and misrepresentations, very little
 11

 12   footages, and little music in the Film. We requested a meeting with Mr. Koster, but
 13
      he cut off all communication.
 14
            66.    In late April 2021, without any notice to any of us, Mr. Koster publicly
 15

 16   started to sell the movie “Through Our Eyes” on various on-line venues such as eBay,
 17
      IMDb, and Vimeo with prices ranging from $9.99 to $19.99. He has wrongly claimed
 18

 19
      all copyrights of the Project. He has failed to provide any of the interviews to be

 20   uploaded to the website. He also took down the original website, which contained all
 21
      his false pledges.
 22

 23
            67.    Mr. Koster has in person and more than once promised me, and all the

 24   people who supported or were interviewed that he would get our approval before any
 25
      public release.
 26

 27
                                               - 18 -
 28
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  1
            68.    On April 22, 2021, on behalf of the Vietnam Foundation and donors, I
  2
      asked Ms. M. Nguyen to email a cease and desist letter to Mr. Koster and Mr. Tooker,
  3

  4   in anticipation of litigation, and requesting that he remove the unauthorized sales and
  5
      marketing of the Film and to return the 93 interview footages to the Vietnam
  6
      Foundation. All copied individuals on the email agreed with the cease and desist
  7

  8   letter sent to Mr. Koster and Mr. Tooker.
  9
            69.    On April 23, 2021, Koster responded and agreed to “shut[] down the
 10
      film website and marketing” and at that time, I had followed-up with Koster in a
 11

 12   separate email requesting that he send us a copy of the 93 interviews and any related
 13
      materials of the documentary film.
 14
            70.    On April 26, 2021, on behalf of the Vietnam Foundation and donors, I
 15

 16   requested that Ms. M. Nguyen email a cease and desist letter to Mr. Tooker, affirming
 17
      the Vietnam Foundation’s copyright ownership of the film and requesting that he
 18

 19
      immediately return all 93 interviews and any related footage of the Film. To date,

 20   we have not received any communication or materials from Mr. Tooker.
 21
            71.    On behalf of the Vietnam Foundation, I requested Ms. M. Nguyen to
 22

 23
      send a notice-and-takedown requests to IMDb, eBay and Vimeo.

 24         72.    On May 7, 2021, on behalf of Vietnam Foundation and donors, I
 25
      requested Ms. M. Nguyen send a second cease and desist letter to Mr. Koster,
 26

 27   requesting the same. All copied individuals on the email agreed with the cease and
                                               - 19 -
 28
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  1
      desist letter, and in fact had requested that Ms. M. Nguyen send such a letter to Mr.
  2
      Koster.
  3

  4         73.    To date, the Vietnam Foundation, donors, and I have not received the
  5
      return of any footage of the 93 interviews or any materials related to the Film. We
  6
      then learned that Mr. Koster still has not returned to Mr. Botkin the original copy of
  7

  8   the movie “Ride the Thunder”.
  9
            74.    Mr. Botkin sent an email to Mr. Koster on May 19, 2021 asking him to
 10
      collaborate with us and return the 93 interview footages and any related materials of
 11

 12   the documentary film.
 13
            75.    Mr. Koster has threatened to destroy the Film and related materials if
 14
      the Vietnam Foundation pursues legal action against him and his affiliates.
 15

 16         76.    On about March 2, 2022, I received an email from the Vietnamese of
 17
      Communism (“VOC”), a nonprofit with a principle place of business in Washington,
 18

 19
      D.C. The email discussed Mr. Koster’s attempts to contact the VOC and inquire about

 20   “donating large film archive [which] … contains hundreds of hours of raw witness
 21
      interviews pertaining to the Vietnam war and communism, from the South
 22

 23
      Vietnamese, North Vietnamese, and American perspectives.” Mr. Koster also

 24   attempted to “donate his library of archival and b-roll footage that is focused on
 25
      Vietnam” that he was “interested in working with VOC in the future” and that he was
 26

 27   discussing several projects with VOC.
                                               - 20 -
 28
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